                                                                                                       Reset Form            Print Form
             Case 1:18-cv-00341-TSE-IDD Document 5 Filed 04/16/18 Page 1 of 1 PageID# 31
                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                       CRIMINAL RULE 57.4
                                   1:18-CV-00341
                  In Case Number _______________,                     Gonzalez v. Pavithran et al.
                                                      Case Name ______________________________
                                                  Plaintiff Robert Gonzalez
                  Party Represented by Applicant: ___________________________________________

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT

                                   Steven Michael Oster
FULL NAME (no initials, please) ____________________________________________________________________________
                            376030
Bar Identification Number ________________             DC
                                               State ________________
            Cogent Law Group
Firm Name ______________________________________________________________________________________________
                202.889.4454
Firm Phone # ________________________                       202.596.5291
                                             Direct Dial # __________________________        FAX # ________________________
                                                                                                    202.747.5862
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E-Mail Address __________________________________________________________________________________________
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                          Cogent Law Group, 1875 K Street, NW, Fourth Floor, Washington, DC 20006

                                                          USDC NDCa, USDC DC, USCA DC, USCA 11th Cir., USCA 4th Cir.
Name(s) of federal court(s) in which I have been admitted _________________________________________________________

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am ____ am not ____ a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                                /s/ Steven Michael Oster
                                                                               _______________________________________
                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                   /s/ Cameron Ippolito                                        4/16/2018
                                                   __________________________________________                  _____________
                                                   (Signature)                                                 (Date)
                                                   Cameron Ippolito
                                                   __________________________________________                  35831
                                                                                                               _____________
                                                            (Typed or Printed Name)                            (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid ________ or Exemption Granted ________

The motion for admission is GRANTED ________ or DENIED ________



                         ________________________________________                            __________________________
                         (Judge’s Signature)                                                 (Date)
